Case:19-05002-MJK Doc#:8 Filed:05/07/19 Entered:05/07/19 11:57:36 Page:1 of 3

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

IN RE: PAUL DARSHAN SHARMA, )
Debtor, ) Chapter 7
) Case No. 18-50834-MJK
THE KASPERS FIRM, LLC, EDWARD _ )
SCOTT and DEBBIE RICHARDS, ) Adversary Proceeding No.
Plaintiffs, ) 19-05002-MJK
)
VS. )
)
PAUL DARSHAN SHARMA, )
Defendant. )
DISCLOSURE STATEMENT

 

Plaintiffs The Kaspers Firm, LLC, Edward Scott, and Debbie Richards, by
and through their undersigned counsel, and pursuant to Local Rule 7.1.1, hereby

certify that the following is a full and complete list of the parties in this action:

The Kaspers Firm, LLC - Plaintiff
Edward Scott - Plaintiff
Debbie Richards- Plaintiff
Paul Darshan Sharma- Debtor/Defendant

The undersigned further certifies that the following is a full and complete list of
officers, directors, or trustees of the above-identified parties:

Tyler B. Kaspers, Esq.- Founder/Owner
The undersigned further certifies that no other persons, firms, partnerships,

corporations, or organizations have a financial interest in, or another interest which
could be substantially affected by, the outcome of this case.
Case:19-05002-MJK Doc#:8 Filed:05/07/19 Entered:05/07/19 11:57:36 Page:2 of 3

Respectfully submitted this 7" day of May, 2019

wee wee .
Zo : Se ies.

TylfB. Kaspers, Ga. Bar Nb. 445708
THE KASPERS FIRM, LLC

152 New Street, Suite 109B

Macon, GA 31201

404-944-3128

 

Counsel for Plaintiffs
Case:19-05002-MJK Doc#:8 Filed:05/07/19 Entered:05/07/19 11:57:36 Page:3 of 3

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

IN RE: PAUL DARSHAN SHARMA, )
Debtor, ) Chapter 7
) Case No. 18-50834-MIJK
THE KASPERS FIRM, LLC, EDWARD _ )
SCOTT and DEBBIE RICHARDS, ) Adversary Proceeding No.
Plaintiffs, ) 19-05002-MJK
)
VS. )
)
PAUL DARSHAN SHARMA, )
Detendant. )

CERTIFICATE OF SERVICE
The undersigned hereby certifies that on the below date a genuine copy of
the within and foregoing DISCLOSURE STATEMENT with the Clerk of the
Court by using the Court’s CM/ECF system and were sent via the United States
Postal Service, first-class mail, postage prepaid, to:
Paul Darshan Sharma

1007 Peterson Ave N
Douglas, GA 31533

This 7th day of May, 2019. ae ZO

Tyler B. Kasper f

Georgia Bar No. 445708

 

THE KASPERS FIRM, LLC
152 New Street, Suite 109B
Macon, GA 31201
